                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


  ARCHIE COOK, JR., Individually and              )
  on behalf of the wrongful death                 )
  beneficiaries of Shirley I. Cook,               )
                                                  )
         Plaintiffs,                              )
                                                  )
  v.                                              )      No. 3:12-CV-641
                                                  )      (Phillips)
  SUN HEALTHCARE GROUP, INC.,                     )
  SUNBRIDGE HEALTHCARE, LLC,                      )
  SUNBRIDGE OF HARRIMAN, LLC, d/b/a               )
  RENAISSANCE TERRACE CARE, and                   )
  REHABILITATION CENTER,                          )
                                                  )
         Defendants.                              )


                        JUDGMENT ON DECISION BY THE COURT


                This case came before the court on the motion for remand filed by plaintiff.

  The Honorable Thomas W. Phillips, United States District Judge, having rendered a

  decision on the plaintiff’s motion,

                IT IS ORDERED AND ADJUDGED that plaintiff’s motion to remand is hereby

  GRANTED, and this action is REMANDED to the Circuit Court for Roane County,

  Tennessee.

                Dated at Knoxville, Tennessee, this _____ day of July, 2013.

                                                  ENTER:

                                                         s/ Thomas W. Phillips
                                                       United States District Judge




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